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                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                            UNITED STATES DISTRICT COURT                                 January 05, 2021
                             SOUTHERN DISTRICT OF TEXAS                                 Nathan Ochsner, Clerk
                                  LAREDO DIVISION

JOSH LIMAS,                                      §
                                                 §
        Plaintiff,                               §
VS.                                              §   CIVIL ACTION NO. 5:20-CV-168
                                                 §
ALL SEASON MEAT MARKET, INC.,                    §
                                                 §
        Defendant.                               §

                                             ORDER

       On December 30, 2020, Plaintiff Josh Limas and Defendant All Season Meat Market,

Inc. filed a “Joint Stipulation of Dismissal with Prejudice Pursuant to FRCP 41(a)(1)” (Dkt. 12).

The stipulation (Dkt. 12), which is signed by counsel for all Parties, satisfies the requirements of

Federal Rule of Civil Procedure 41(a)(1)(A)(ii) and requests a dismissal with prejudice. (Id. at 1–

2.) Accordingly, the case is hereby DISMISSED WITH PREJUDICE. See Fed. R. Civ. P.

41(a)(1)(B). The Clerk of Court is DIRECTED to TERMINATE the case.

       IT IS SO ORDERED.

       SIGNED this 5th day of January, 2021.




                                                  ___________________________________
                                                  Diana Saldaña
                                                  United States District Judge




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